The Official Web Site for Virginia’s Judicial System

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		     Alphabetical Listing of Commissioners of Accounts 
             Uniform Fee Schedule Guidelines         


               Guardians and Conservators of Incapacitated Adults 
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               Unclaimed Property Division, Virginia Department of the Treasury  
            
        
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       Juvenile and Domestic Relations District Court
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       Magistrate System
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               Chapter 3 of Title 19.2 of the Code of Virginia 
               Magistrate Manual 
            
        
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       Office of the Executive Secretary (OES)
         Assistant Executive Secretary and Counsel
            
          
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	   Americans with Disabilities Act (ADA) 
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       Assistance with Protective Orders (I-CAN!)
         I-CAN!TM Virginias Online Forms Completion System for Protective Orders 
           I-CAN! Resources
             Frequently Asked Questions 
               Manual for Local Workgroups 
            
           Court-Specific Information for Filing Protective Order Petitions 
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 Case Status and Information
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               Deed Calculation 
            
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 Court Administration
     Office of the Executive Secretary (OES)

         Assistant Executive Secretary and Counsel
           
          
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			   Procurement 
            
          
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     Directories
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       General Contact Information for All Courts
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       Guardians Ad Litem
         For Children
             Listing in Alphabetical Order  
               Listing of Qualified Guardians Ad Litem for Children by District (Map) 
            
           For Incapacitated Adults
             Listing in Alphabetical Order 
               Listing of Qualified Guardians Ad Litem for Adults by District (Map) 
            
        
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       Judicial Inquiry and Review Commission Complaint Form 
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       Parent Education Self Evaluation 
    

  Judicial Branch Agencies
  
    Judicial Inquiry and Review Commission
     About 
       Canons of Judicial Conduct 
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       Judicial Ethics Advisory Committee
         Order Creating (JEAC) 
           Opinions Issued by the Judicial Ethics Advisory Committee 
        
     
    
     Virginia Board of Bar Examiners 
     Virginia Criminal Sentencing Commission 
     Virginia State Bar 
  
 Programs
     Assistance with Protective Orders (I-CAN!)
         I-CAN!TM Virginias Online Forms Completion System for Protective Orders 
           I-CAN! Resources
             Frequently Asked Questions 
               Manual for Local Workgroups 
            
           Court-Specific Information for Filing Protective Order Petitions 
           Juvenile and Domestic Relations District Court 
        
	  
	   Concluded Programs and Studies 
         Commission on Mental Health Law Reform 
            
               Judicial Boundary Realignment Study 
 
               Judicial Performance Evaluation (JPE) 
 
               Pandemic Flu Preparedness Commission 
 
        
       Drug Treatment Courts
         About 
           Directory of Drug Treatment Courts By Model and Locality 
           Drug Treatment Court Act - Virginia Code § 18.2-254.1 
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           Statewide Advisory Committee
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           Training Calendar 
        
       Foreign Language Services
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               Program Information and Registration 
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           Frequently Asked Questions About Interpreters 
           Standards and Guidelines
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               Guidelines for Serving Non-English Speakers in the Virginia Court System 
            
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       Guardians Ad Litem (GAL)
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           Complaints Regarding Guardians Ad Litem 
        
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       Mediation
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               Helpful Things to Consider Before Taking Mediation Training 
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               Child Support Training Presentation 
            
           Circuit Court Mediation
             Find a Circuit Court Mediator 
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               Resources and Reference Materials 
            
           Complaint Process
             Complaint Procedures for Mediators Certified to Receive Court-Referred Cases  
               Mediation Complaint Form [Form ADR - 1004] 
               Standards of Ethics and Professional Responsibility for Certified Mediators 
            
           Directories 
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           Forms and Applications 
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             Instructions for Mediation Information System 
            
           Resources and Reference Materials
             Alternative Dispute Resolution Overview and Statistics (PowerPoint) 
               General Information 
               Child Dependency Mediation 
            
           Standards and Guidelines
             Guidelines 
               Standards of Ethics and Professional Responsibility for Certified Mediators 
               Statutory References Governing Mediation Procedures 
            
        
      
           Parent Education
         Find a Parent Education Seminar 
		   Circuit Court 
               Juvenile &amp; Domestic Relations Court              
        
           Information for Providers 
           Resources and Reference Materials 
			
            
       Virginia Access to Justice Commission 
          Commission Meeting Schedule 
         
         Judicial Branch Expenditures 



    
    
  
  
    
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            Public
            Advisory: "Court Notice" Email Scam
            Welcome to the Web site of
              Virginia’s Judicial System
              Our aim is to assure that disputes are resolved justly, promptly, and
              economically through a court system unified in its structures and administration.
              This system is comprised of the Supreme Court of Virginia, the Court
              of Appeals of Virginia, circuit courts in thirty-one judicial circuits,
              general district and juvenile and domestic relations district courts
              in thirty-two districts, and magistrates in offices in thirty-two districts.
              The administrative office of the courts, known in Virginia as the Office
              of the Executive Secretary, supports the administration of the court
              system under the direction of the Chief Justice and the Executive Secretary.  
        
        Virginia Judicial Workload Assessment Report
          Chapter 601, Virginia Acts of Assembly (2012), directed the Supreme Court of Virginia to "develop and implement a weighted 	caseload system to precisely measure and compare judicial caseloads throughout the Commonwealth on the circuit court, general 	district court, and juvenile and domestic relations district court levels" and to develop "a recommended plan for the realignment of the circuit and district boundaries."  In response to the legislation, the Supreme Court of Virginia's Office of the Executive Secretary contracted with the National Center for State Courts to develop a weighted caseload system for Virginia's trial courts and to recommend a plan for the realignment of the circuit and district boundaries.  The Virginia Judicial Workload Assessment Report was submitted to the Court by the National Center for State Courts as a result of the workload assessment study they completed, and it details the weighted caseload system they developed and includes their recommendations regarding boundary realignment in Virginia.         
        
        Press
        Release

            The
                Honorable Cynthia D. Kinser, Chief Justice of the Supreme Court
            of Virginia, Announces Retirement
          
2014
          State of the Judiciary Address
          Presented on May 13, 2014, to the Judicial Conference of Virginia, by the Honorable Cynthia D. Kinser, Chief Justice.         
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Office of the Executive Secretary
Supreme Court of Virginia
100 North Ninth Street
Richmond, Virginia 23219 
Copyright 2009 Office of the Executive Secretary, Supreme Court of Virginia.  All rights reserved.WAI Level A Compliant
To report technical problems with our Web site, please contact the webmaster.  The webmaster will not respond to inquiries seeking legal advice or about specific cases.  Questions about specific cases should be directed to the court in which the case has been or will be filed.




